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EAsTERN nlvisioN 40632 D-C.
uNlTED sTATEs oF AMERch
-v- 04-10062-01-T

 

M|CHAEL L. JACKSON
Diane Smothers FPD
Defense Attorney
109 S. High|and, Ste B-8
Jackson, TN 38301

 

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant was found guilty on Count1 of the indictment on i\/lay11,2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Title & section N§_MJ.H.QM Concluded Numberisi
21 U.S.C. § 841 (a)(‘l) Possession with intent to Distri’oute 01/09/2004 1

5.6 Grams of Cocaine Base

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

The defendant has been found not guilty on count(s) 2.
|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 06/24/1967 August 19, 2005
Deft's U.S. Marshal No.: 19658-076

Defendant's Mailing Address:
1137 Washington Street

P. O. Box 7904

Saitillo, TN 38370

Wz-M

JA|V| D. TODD
CH| UN|TED STATES DISTR|CT JUDGE

This document entered on the docket sheet in compliance August 202 ' 2005
with Ruie 55 and!or 32{b) FRCrP on ‘ ____

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Case No: 1:04cr10062-01-T Defendant Name: i\/|ichaei L. Jackson Page 2 of 5
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 78 Months.

The Court recommends to the Bureau of Prisons: Defendant serve sentences at FPC
at l\/lillington.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the U. S. District Clerk’s office in the Order to Surrender.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES i\/lARSHAL
By:

 

Deputy U.S. lVlarshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 4 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federalr state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation ocher;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ocher;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. ' The defendant shail refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation oft"icer',

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement ofl'"icer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. lfthisjudgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminal Nlonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and treatment for drug
abuse as directed by the United States Probation Officer until such time as the defendant
is released from the program by the probation ofticer..

2. The defendant shall cooperate with the United States Probation Office in the collection of
DNA.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythefoliowing total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu!e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Total Fine Tota| Restitution

5100.00

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The Special Assessment shall be due immediately
F|NE
No fine imposed

REST|TUT|ON

No Restitution was ordered.

l ISTRIC COURT - WESRNTE D"CTRIT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 77 in
case 1:04-CR-10062 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

